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                              UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF NEW JERSEY




   NOREEN SUSSINO, individually and on                               Civil Action No.
   behalf of all other similarly situated,                     3:1 5-cv-0588 1 (PGS)(TJB)


                        Plaint ifJ
                                                                   MEMORANDUM
                                                                    AND ORDER
                                                             DENYING PLAINTIFF’S
   V.
                                                         MOTION TO REOPEN THE CASE
                                                                AND TO FILE A
                                                         SECOND AMENDED COMPLAINT
   WORK OUT WORLD, INC. and JOHN DOES
   1-25,


                        Defendants.


        This matter comes before the Court on Plaintiff Noreen Sussino’s (Sussino) motions to

 reopen the case and for leave to file a second amended complaint. (ECF. Nos. 110-1, 111). On

 June 16, 2021, this case was administratively terminated until the lifting of the automatic stay in

 a related bankruptcy matter, In re WOW V, LLC, No. 21-bk-14606-KCF (D.N.J. Bankr. filed

 June 2, 2021). (ECF No. 104). This Court heard oral argument on September 20, 2021. (ECF

No. 118). For the reasons stated below, the motion to reopen the case is denied, and the motion

 for leave to file a second amended complaint is denied without prejudice.

                                                  I.

        On July 28, 2015, Defendant Work Out World, Inc. (Work Out World), an athletic club,

called Sussino on her cell phone and left a prerecorded message on her voicemail using an
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 automatic telephone dialing system (ADTS) in violation of the Telephone Consumer Protection

 Act, 47 U.S.C.   § 227(b)(1)(A)(iii). (Amended Complaint ¶17-22, ECF No.        15). When Work

 Out World filed an answer to Plaintiffs complaint, Work Out World admitted it “is and was at

 all relevant times a business entity duly formed under the laws of the State of New Jersey.”

 (Compare Am. Complaint ¶ 16, ECF No. 15 with Answer ¶2, ECF No. 43). Work Out World

 later served Plaintiff with an Offer of Judgment on behalf of “Work Out World, Inc.” (ECF No.

 34-5).

          Despite these concessions, it later contended, for the first time, that Sussino was only a

 member of the WOW XII gym in Wall, New Jersey, that Sussino only had standing to represent

 members of WOW XII, and that “Work Out World, Inc.” was “not even an entity in existence.”

 (ECF No. 62). At first, this Court rejected Work Out World’s arguments. (ECF No. 66 at 1,

 n.1).

          But later, on a motion summary judgment, Work Out World resurrected its argument that

 Sussino was only a member of the WOW XII gym in Wall, New Jersey, “a separate legal entity

 distinct from each and every other WOW gym location, which are each, themselves, distinct

 legal entities.” (Defendant’s Memo. in Support of Summary Judgment 9-16, 9, 14, ECF No. 73).

 Therefore, this Court lacked jurisdiction because Work Out World, Inc. was not a “legal person.”

 Id. at 5. Subsequently, Work Out World moved to amend its answer, contending “Work Out

 World, Inc.” was a “non-existent entity” and that “Work Out World” was a “colloquial name for

 twelve (12) gym facilities, each of which is a legally distinct New Jersey corporate entity.”

 (Defendant’s Memo, in Support of Leave to File Amended Answer 1, ECF No. 82).

          While the motion for summary judgment was pending, Plaintiff moved for approval of

her proposed class notice. (ECF. No. 74). This Court denied all motions in June 2020 and



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 directed the parties to appear before the magistrate judge in order to resolve any procedural

 complications arising from Work Out World’s corporate structure. (ECF. No. 89).

         On June 2, 2021, WOW V, LLC, one of the Work Out World gyms, filed for bankruptcy

 in the District of New Jersey. In re WOW V, LLC, No. 21-bk-14606-KCF (D.N.J. Bankr. filed

 June 2, 2021). As a result, on June 16, 2021, this Court administratively terminated the class

 action litigation until the bankruptcy stay was lifted. (ECF No. 104). On August 4, 2021,

 Plaintiff moved to reopen the case and for leave to file a second amended complaint. (ECF Nos.

 110, 111).

                                                  II.

         The administrative termination of a case permits a court to “remove cases from [its]

 active files without making any final adjudication.” Penn W Assocs. v. Cohen, 371 F.3d 118,

 127 (3d Cir. 2004) (quoting Lehman v. Revolution Por(folio L.L.C., 166 F.3d 389, 392 (1st Cir.

 1999)). “Administrative closings are particularly useful in circumstances in which a case,

 though not dead, is likely to remain moribund for an appreciable period of time.” Freeman v.

 Pittsburgh Glass Works, LLC, 709 F.3d 240, 247 (3d Cir. 2013) (internal quotation marks

 omitted). “The practical effect is to remove a case from the court’s active docket and permit the

 transfer of records associated with the case to an appropriate storage repository.” Id. (internal

 quotation marks omitted). Administrative termination or closing is a “practical tool used by

 courts to prune overgrown dockets.” Stevens v. Santander Holdings USA Inc., 799 F.3d 290, 296

 (3d Cir. 2015) (internal quotation marks omitted). The administrative termination or closing of a

 case is within the Court’s discretion. Cohen, 371 F.3d at 127-28. A case administratively

 terminated may be reopened upon a motion by a party or on the court’s own volition. Stevens,

 799F.3dat296.



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           When a defendant in civil litigation files for bankruptcy and receives the protection of the

 automatic stay,’ ii U.s.c        § 362(a), an administrative termination of the civil litigation is
 appropriate because the automatic stay applies to judicial proceedings “to recover a claim against

 the debtor that arose before the commencement of the” bankruptcy proceedings. 11 U.S.C                           §
 362(a)(l). civil litigation subject to an automatic stay is “likely to remain moribund for an

 appreciable period of time,” Freeman, 709 F.3d at 247, as the court must wait for the bankruptcy

 proceedings to conclude. Compare Ellis v. Westinghouse Elec. Co., LLC,                           F.4th

 slip op. at 29 (3d cir. 2021) with In re ICL Holding Co., 802 F.3d 547, 549 (3d cir. 2015).

                                                           III.

      A. Plaintiffs Motion to Reopen the Case

          Plaintiff seeks to reopen the case, contending the automatic stay in WOW V’s bankruptcy

 does not apply to any defendant named in the first amended complaint or in the proposed second

 amended complaint. (Plaintiffs Motion to Reopen case 2, ECF No. 110-1). In the first

 amended complaint, Plaintiff named “Work Out World, Inc.” as the defendant. (Amended

 complaint ¶16). In the proposed second amended complaint, Plaintiff names WOW I, WOW III,

 WOW IV, WOW VI, WOW VII, WOW VIII, WOW X, WOW XII, WOW XIV, and WOW

 XVI. WOW V, the one bankrupt gym, is not named. (ECF No. 111-2). In light of the

 ambiguity of Work Out World’s corporate structure and WOW V’s ongoing bankruptcy, this

 court will deny Plaintiffs motion.




   “The filing of a petition for relief under the Bankruptcy Code, in addition to establishing an estate consisting of
 the debtor’s property, triggers an automatic stay of all acts against the debtor and his non-exempt property. See 11
 U.S.C. § 54 1(a) and 362(a). With respect to acts against estate property, the automatic stay ‘continues until such
 property is no longer property of the estate.’ 11 U.S.C. § 362(c)(1). For all other acts, the automatic stay persists
 until the earliest of: the case being closed; the case being dismissed; or a discharge being granted or denied (to an
 individual debtor).” In re Garrett, 736 Fed. Appx. 47, 49 n.3 (3d Cir. 2018).

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         In Maritime Electric Co. v. United Jersey Bank, 959 F.2d 1194 (3d Cir. 1991) vacated

 and later reinstated en banc No. 90-6057, 1992 U.S. App. LEXIS 5144 (3d Cir. Mar. 24, 1992),

 the Third Circuit noted how “formal distinctions between debtor-affiliated entities are

 maintained when applying the stay.” Id. at 1205. For instance, the stay in a bankruptcy of a

 parent company does not extend to non-bankrupt subsidiaries. Id. Furthermore, “the automatic

 stay is not available to non-bankrupt co-defendants of a debtor even if they are in a similar legal

 or factual nexus with the debtor.” Id.; see also McCartney v. Integra Nat ‘1 Bank N, 106 F.3d

 506, 509-10 (3d Cir. 1997).

         However, proceedings against non-bankrupt codefendants may be stayed under “unusual

 circumstances.” A.H Robins Co. v. Piccinin, 788 F.2d 994, 999 (4th Cir. 1986); see also

 Belcufine v. Aloe, 112 F.3d 633, 637 n.5 (3d Cir. 1997) (noting the unusual circumstances test

 promulgated by A.H Robins “has since been adopted by this Circuit”). The test is whether: (1)

 there is “such identity between the debtor and the third-party defendant that the debtor may be

 said to be the real party defendant and that a judgment against the third-party defendant will in

 effect be a judgment or finding against the debtor,” id.; or (2) “stay protection is essential to the

 debtor’s efforts of reorganization.” McCartney, 106 F.3d at 510. For a “judgment against the

 third-party defendant” to be “in effect.   .   .   a judgment.   .   .   against the debtor,” the third-party

 defendant must absolutely indemnify the debtor. Belcufine, 112 F.3d at 637 n.5. For stay

 protection of a codefendant to be “essential to the debtor’s efforts of reorganization,” the third

 party is typically an officer or principal of a debtor business and the codefendant’s knowledge of

the business or expertise must be necessary for the business to successfully reorganize. See

McCartney, 106 F.3d at 510.




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         Considering the obligation of this Court to respect the automatic stay against WOW V,

 ii U.S.C   § 362(a)(1); the “unusual circumstances” of Work Out World’s corporate structure,
 McCartney, 106 F.3d at 510, which could very well result in the other WOW gyms being

 involved in WOW V’s bankruptcy case; and the discretion this Court is afforded in deciding to

 administratively terminate cases and manage its docket, Cohen, 371 F.3d at 127-28, this Court

 will deny Plaintiff’s motion to reopen the case.

     B. Plaintiff’s Motion for Leave to File a Second Amended Complaint

         Because this Court is denying Plaintiff’s motion to reopen the case, Plaintiff’s motion for

 leave to file a second amended complaint is denied without prejudice.



                                              ORDER

         THIS MATTER having come before the Court on a Motion to Reopen the Case and a

 Motion for Leave to File a Second Amended Complaint filed by Plaintiff (ECF No. 110-1, 111);

 and the Court having carefully reviewed and taken into consideration the submissions of the

 parties, as well as the arguments and exhibits therein presented; and for good cause shown; and

 for all of the foregoing reasons,

        IT IS onthis 2.Iday of                          2021,

        ORDERED that Plaintiff’s Motion to Reopen the Case is DENIED. Either party may

 move to reopen the case upon the conclusion of the proceedings of In re WOW V, LLC, No. 21-

 bk-i 4606-KCF.

        IT IS FURTHER ORDERED that Plaintiff’s Motion for Leave to File a Second

 Amended Complaint is DENIED WITHOUT PREJUDICE.
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                                       PETER G. SHERIDAN, U.S.D.J.

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